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                                                                                        FILED
                                                                             John E. Triplett, Acting Clerk
                                                                              United States District Court


              In the United States District Court                        By CAsbell at 10:47 am, Dec 31, 2020




              for the Southern District of Georgia
                       Savannah Division
UNITED STATES OF AMERICA

        v.                                           4:19-CR-89

MICHAEL WILLIAMS


                                    ORDER

       On March 6, 2020, a jury found Defendant Michael Williams

guilty as to Count One of the indictment, i.e. possession of a

firearm by a prohibited person.       Dkt. No. 136.       The Court sentenced

Williams to 110 months’ imprisonment.             Dkt. No. 177.      Williams

filed a direct appeal and is currently represented by attorney

Dennis O’Brien, Jr., who was appointed under the Criminal Justice

Act.    See United States of America v. Williams, No. 20-13516 (11th

Cir. Sept. 17, 2020).

       Before the Court is Williams’ pro se “Memorandum of Law in

Support of (JOA) Judgment of Acquittal pursuit [sic] to Fed. R.

Crim.    P.   29   Motion   to   Correct    a   Defect    in   Subject       Matter

Jurisdiction, Excusable Neglect Under Fed. R. Crim. P. 45(b)(1).”

Dkt. No. 196.      Local Rule 44.2 precludes the filing of motions by

a defendant who is represented by counsel.               See S.D. Ga. LR 44.2

(“Absent prior leave of Court, a defendant represented by counsel

may not file a motion, brief, or other paper pro se, except for a
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motion for the appointment of new counsel or a motion to proceed

pro se.”).   Accordingly, Williams’ motion is DISMISSED.

     SO ORDERED, this 31st day of December, 2020.




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                                 HON. LISA GODBEY WOOD, JUDGE
                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF GEORGIA




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